
















In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



______________________________



No. 06-07-00162-CR


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GUNNAR ERIC AUSTIN, Appellant



V.



THE STATE OF TEXAS, Appellee




                                              


On Appeal from the 202nd Judicial District Court


 Bowie County, Texas


Trial Court No. 07F0245-202




                                                 




Before Morriss, C.J., Carter and Moseley, JJ.


Memorandum Opinion by Chief Justice Morriss



MEMORANDUM OPINION



	Gunnar Eric Austin (1) has appealed from his conviction by a jury for the offense of
endangering a child.  See Tex. Penal Code Ann. § 22.041 (Vernon 2003).  The jury found the
enhancement paragraphs "true" and assessed Austin's punishment at five years' imprisonment, to run
concurrently with his conviction for evading arrest. (2)  	

	Because the issues raised in this appeal are identical to the issues raised in the companion
appeal, for the reasons stated in our opinion dated this day in Austin v. State, cause number 06-07-00161-CR, we affirm the judgment of the trial court.


						Josh R. Morriss, III

						Chief Justice


Date Submitted:	November 4, 2008	

Date Decided:		November 18, 2008


Do Not Publish





1. Austin's first name as listed on the judgment is "Gunner."  However, he testified at trial that
the correct spelling of his first name is "Gunnar."  
2. Austin has appealed this conviction in a companion appeal before this Court in cause
number 06-07-00161-CR.


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of Appeals

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Sixth
Appellate District of Texas at Texarkana

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Appeal from the 76th Judicial District Court

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Court No. 15435

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Carter and Moseley, JJ.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Memorandum Opinion by Justice Moseley








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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Roy
Lee Hill appeals the denial of his application for writ of habeas corpus.&nbsp; He contends that his right to be free from
double jeopardy was violated after the trial court previously declared a
mistrial which allowed the State to amend its indictment and prosecute
him.&nbsp; Because the courts mistrial was
declared prior to the jury panel being sworn, we affirm the trial courts
judgment.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
Fifth Amendment to the United States Constitution and Article I, Section 14 of
the Texas Constitution prohibit double jeopardy and protect individuals from
being tried twice for the same offense, possibly receiving double
punishments.&nbsp; Albernaz v. United
States, 450 U.S.
333, 343 (1981); Illinois v. Vitale, 447 U.S. 410, 415 (1980); Stephens
v. State, 806 S.W.2d 812, 81415 (Tex. Crim. App. 1990).&nbsp; A prerequisite to the implication of
double-jeopardy protections is the requirement that jeopardy must have
attached initially.&nbsp; State v. Moreno, 294 S.W.3d 594, 597
(Tex. Crim. App. 2009). &nbsp;In a jury trial,
jeopardy attaches only when a jury is impaneled and sworn.&nbsp; Id.; Ex parte Preston, 833 S.W.2d 515, 517
(Tex. Crim. App. 1992).&nbsp; Once the panel
is sworn, a defendant has a constitutional right to have his guilt or innocence
decided by that particular jury.&nbsp; Hubbard v. State, 798 S.W.2d 798, 799800
(Tex. Crim. App. 1990) (citing Torres v.
State, 614 S.W.2d 436, 441 (Tex. Crim. App. 1981)).&nbsp; Because the jury panel in this case was not
sworn, jeopardy did not attach.&nbsp;&nbsp;&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Despite
the fact that a jury was not sworn, Hill argues that the trial courts
declaration of mistrial violated double jeopardy because no manifest necessity
existed to justify the mistrial.[1]&nbsp; As stated in Dinkins v. State, [t]he doctrine of manifest necessity is
inextricably fused with the concept of jeopardy.&nbsp; 894 S.W.2d 330, 343 (Tex. Crim. App.
1995).&nbsp; We need not indulge Hills
contention of lack of manifest necessity since [j]eopardy principles pose no
bar to declaration of a mistrial when the jury has not been impaneled or sworn.&nbsp; Reese
v. State, 936 S.W.2d 327, 328 (Tex. App.Tyler 1996, pet. refd) (citing Dinkins, 894 S.W.2d at 343).&nbsp; In other words, because jeopardy did not
attach, the trial court was not required to have manifest necessity to declare
a mistrial to avoid double jeopardy.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
affirm the trial courts judgment.&nbsp; 

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C. Moseley

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Date Submitted:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; August
9, 2010

Date Decided:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; August
10, 2010

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Do Not Publish











[1]Double
jeopardy does not forbid multiple trials of a single criminal charge if the
first trial resulted in a mistrial that was justified under the manifest
necessity doctrine.&nbsp; Arizona v. Washington, 434 U.S. 497, 50506 (1978).&nbsp; 







